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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     : No. 1:21CR-00358-BAH
                                             :
               v.                            :
                                             :
HOWARD ADAMS,                                :
                                             :
                      Defendant.             :

       GOVERNMENT’S RESPONSE TO PRESENTENCE REPORT

       For the Government

(CHECK APPROPRIATE BOX)

(X) There are no material/factual inaccuracies therein.

( ) There are material/factual inaccuracies in the PSR.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             UNITED STATES ATTORNEY


                                      by:    /s/Michael C. Liebman____________
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